         Case 1:20-cr-00330-AJN Document 197 Filed 04/07/21 Page 1 of 5




                                                      April 7, 2021
Honorable Alison J. Nathan
United States District Judge
United States Courthouse
40 Foley Square
New York, NY 10007

                      Re: United States v. Ghislaine Maxwell
                                  S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The government’s letter of April 6th is yet another regurgitation of its previous letters

regarding Ms. Maxwell’s conditions of confinement. No matter how often the government tries

to present Ms. Maxwell’s detention as superior to other inmates, it continues to miss the mark.

We stand by our previous responses and reiterate that Ms. Maxwell’s detention is unwarranted

and overly restrictive. It is tantamount to “pay-it-forward” punishment served pretrial.

       The government’s letter provides the opportunity to flush out the persistent unsanitary

conditions at the MDC, which long predate Ms. Maxwell’s detention. This past weekend there

was a pervasive stench of sewage in Ms. Maxwell’s unit necessitating guards to flush pipes by

pouring water down open drains in an effort to trap and disperse gaseous emissions. As guards

explained to Ms. Maxwell, there are three drains in the day area, and when the plumbing system

goes unused, gases escape from the drains and cause the stench. At times the stench in Ms.

Maxwell’s isolation cell has been overwhelming due to overflowing of toilets in the cellblock

above. Due to lack of privacy, Ms. Maxwell refrains from using the toilet in the isolation cell

and, as directed by the guards, she flushes frequently to avoid plumbing problems. At times, the

stench is apparent upon entering the visiting area. Of the many defense counsel who visit
             Case 1:20-cr-00330-AJN Document 197 Filed 04/07/21 Page 2 of 5




regularly, I challenge the government to identify anyone that would risk their health by drinking

the tap water. Even the guards resort to drinking bottled water.

        Blaming Ms. Maxwell for the filth of her severely restricted environment is utterly

misplaced. To suggest she willingly lives in squalor is absurd. In an effort to wield power, the

guards use cleaning as a punishment. The MDC - especially the East Building where Ms.

Maxwell is held– is permeated with mold and vermin. Cockroaches and rodents are plentiful and

glue tracks have been placed in Ms. Maxwell’s day area to help remediate the problem.

        While HEPA filters may improve the safety of the legal visiting rooms – characterized by

an HVAC inspector as “a death trap” – in-person visiting with Ms. Maxwell is uncomfortable

and unproductive. Relegated to a small “fishbowl” where chairs abut glass walls and a table,

with no room in between, Ms. Maxwell and counsel are forced to wedge their bodies into chairs.

There is no opportunity to view electronic discovery or exchange documents; and speaking while

wearing a face mask while crammed on either side of a plexiglass divider under surveillance of

three guards and a handheld camera places a chill on any free exchange of confidential

information. While video conferencing has facilitated on-going communication between Ms.

Maxwell and counsel, her request for a legal call to confer with counsel regarding pretrial

motions was denied.

        Ms. Maxwell’s health is deteriorating. She has not experienced sunshine and fresh air for

the past eight months. Referring to an interior gated pen where Ms. Maxwell can exercise (and

be subjected to even more searches) as the “outside” is a misnomer. Barely a breeze permeates

that area.

        Medical staff monitor Ms. Maxwell’s health by recording her weight in her medical

chart. Guards declined Ms. Maxwell’s request to know her weight, claiming they cannot look it




                                                 2
         Case 1:20-cr-00330-AJN Document 197 Filed 04/07/21 Page 3 of 5




up because it is part of her medical record, which is protected by the American Health Insurance

Portability and Accountability Act Health Information Policy (HIPAA). She is weighed while

clothed on scales that are erratic and not set to zero; on at least one occasion, the scale was set

above five pounds. Her eyesight is failing, and her hair is thinning. The guards are far from

qualified to assess Ms. Maxwell’s physical condition.

       Releasing any inmate’s medical information (i.e., weight, vaccinations, etc.) without

inmate consent is a HIPAA violation. By releasing such information regarding Ms. Maxwell, the

MDC has violated HIPAA, a privacy breach compounded by the government’s letter. Requesting

medical attention puts Ms. Maxwell’s privacy and HIPAA rights at risk. We request that the

Court order the MDC to cease releasing Ms. Maxwell’s health information. Breach aside, such

information falls within the “caution” category identified in Your Honor’s Individual Practice in

Criminal Cases (see 8D (Redactions)). The government, ever protective of sensitive items of

discovery that relate to the alleged victims, should exhibit the same concern for Ms. Maxwell’s

right to privacy.

       The incident of physical abuse which occurred when Ms. Maxwell was shoved into her

isolation cell to be searched was previously reported to MDC Legal and the Court and

investigated within the facility. The guard responsible for the abuse is a member of a rotating

team that has been the subject of complaint, yet some members were reassigned to Ms. Maxwell

for the past two weeks. The incident at issue occurred when Ms. Maxwell was facing forward in

front of an officer whose back was in front of the handheld camera. On information and belief,

the camera was not recording at that time. The government disputes Ms. Maxwell’s claim by

citing a video. We request that the Court direct the government to provide defense counsel with

that video. In response to any misconduct of guards, the standard reply is that “the matter will be




                                                  3
         Case 1:20-cr-00330-AJN Document 197 Filed 04/07/21 Page 4 of 5




taken seriously,” and just like the majority of complaints filed by inmates, the facility refuses to

provide results of this and other inquiries.

        The mail and food issues persist. Even a Federal Express envelope from the government

was not given to Ms. Maxwell until two weeks after it was sent, containing a discovery disc that

was unreadable. In mid-March, she received a copy of the New York Times issued in October.

Any claim that Ms. Maxwell deletes CorrLinks emails, which is disputed, does little to erase the

fact that the MDC violated its own policy by prematurely deleting Ms. Maxwell’s legal emails.

That her food is not heated in a thermal oven does little to explain why she was given a salad

containing mold earlier this week.

        Ms. Maxwell does not have an eye mask; she’s not even provided a suitable face mask.

She covers her eyes with a towel to shield them from glaring overhead lighting that she cannot

turn off and from flashlights pointed into her cell every 15 minutes during the night. That Ms.

Maxwell chooses not to respond to guards during the nighttime is no indication that she is

engaged in restful sleep; rather, it’s a respite from having to engage with them.

        No amount of gloss put on Ms. Maxwell’s conditions of confinement can erase the fact

that she remains in de facto solitary confinement, over-managed by multiple guards, and

surveilled by multiple cameras 24 hours per day. The computer equipment provided remains

inadequate to review the millions of pages of discovery under circumstances that are not

conducive to preparing for trial. It is unreasonable to believe that not being able to search, mark,

save, and print is sufficient to prepare this document-laden case for trial. The Court need only

imagine how the government would respond if this was a 25-year-old document-driven fraud

case.




                                                  4
         Case 1:20-cr-00330-AJN Document 197 Filed 04/07/21 Page 5 of 5




       The Court’s request for updates concerning Ms. Maxwell’s conditions of confinement

does little to improve her situation. Quite the contrary. The government’s update letters are

anything but helpful: They fuel media attention which resounds to Ms. Maxwell’s detriment. The

government’s attempt to publicly embarrass and humiliate Ms. Maxwell in the hostile court of

public opinion further erodes the likelihood that her case will be tried by a fair and impartial jury.

The government’s review of the MDC may be Yelp-worthy, but it does not justify Ms.

Maxwell’s inappropriate detention. If the government wants to compare Ms. Maxwell to other

defendants, it should do the right thing and consent to bail.

       It is debatable whether the public has a “right to know” about Ms. Maxwell’s conditions

of confinement, but clearly, it does not extend to personal and medical information. The

government safeguards personal information regarding its witnesses and is reluctant to release

any unless mandated by statute or court order. Yet the government fails to accord Ms. Maxwell

the same treatment.

       Should the Court request further updates from the government, we request that they be

limited to changed circumstances and filed under seal or subject to appropriate redaction.


                                                      Very truly yours,

                                                      Bobbi C. Sternheim
                                                      BOBBI C. STERNHEIM

cc: All counsel




                                                  5
